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Case 3:51-cv-01247-JO-SBC Document 1-6 Filed 01/25/51 PagelD.217 Page1of1

Map Number One (1)

SS STATE OF CALIFORNIA o
& UNITED STATES EARL WARREN, GOVERNOR LAS PULGAS CANYON QUADRANGLE
%, DEPARTMENT OF THE INTERIOR C. H. PURCELL, DIRECTOR OF PUBLIC WORKS CALIFORNIA-SAN DIEGO CO. »
© GEOLOGICAL SURVEY new rsw. EDWARD HYATT, STATE ENGINEER 7.5 MINUTE SERIES (TOPOGRAPHIC) é
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Mapped, edited, and published by the Geological Survey © Irrigation or camp supply SCALE 1:24000 )of Eight (8) ; os
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APPROXIMATE MEAN
DECLINATION, 1948

THE AVERAGE RANGE OF TIDE 1S APPROXIMATELY 4 FEET coe
THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS ard & oe Sis.
FOR SALE BY U.S. GEOLOGICAL SURVEY, WASHINGTON 25, D. C.

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MAPS - BLUEPRINTS - PHOTOSTATS

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EDITION OF 1949
